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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

JANE DOE l, et al.,

Plaintiffs,
Civil Action No. 19-51
v.
Chief_ Judge Beryl A. Howell
DONALD J. TRUMP, et al.,

Defendants.

 

 

MEMORANDUM AND ORDER

The five plaintiffs, all of whom are federal employees from the Departments of
Transportation, Justice, Agriculture, and Homeland Security, respectively, seek to proceed
under pseudonyms in the instant action alleging violations of Articles I and II of the Fifth and
Thirteenth Amendments of the U.S. Constitution, the Fair Labor Standards Act, and the Anti-
Deflciency Act.- See Pls.’ Mot. File Under Pseudonyms (“Pls.’ Mot.”) at l; Compl. at 2, 4-5.
For the reasons set forth below, the plaintiffs’ motion is denied.l
I. BACKGROUND

The plaintiffs are federal employees seeking to enforce their constitutional and
statutory rights against being required to Work Without pay or against being furloughed
Without authorization to obtain outside employment during the ongoing partial government
shutdown. Compl. 1111 l, 2; Pls.’ Mem. in Supp. of Mot. (“Pls.’ Mem.”) at l. The plaintiffs
seek to tile suit under pseudonyms because of the “high risk of reprisal . . . should they be
required to disclose their identities.” Pls.’ Mem. at l. Speciflcally, the plaintiffs allege that

“their participation as named litigants in this case would gain them extraordinary notoriety

 

l Under Local Civil Rule 40.7(g), the ChiefJudge “shall . . . hear and determine . . . motions to file a
pseudonymous complaint.” LCvR 40.7(g).

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and expose them to reprisal in the workplace,” id. at 3, and that the “capacity for reprisal in
the federal workplace far exceeds the regular annoyance and criticism that may attend other
litigation,” id.
II. LEGAL STANDARD 1

Generally, a complaint must state the names of the parties. FED. R. CIV. P. lO(a) (“The
title of the complaint must name all the parties.”); LCVR 5.l(c)(l) (“The first filing by or on
behalf of a party Shall have in the caption the name and full residence address of the party,”
and “[f]ailure to provide the address information within 30 days [of] filing may result in the
dismissal of the case against the defendant.”); LCvR ll.l (same requirement as LCvR
5.l(c)(l)). The public’s interest “in knowing the names of [ ] litigants” is critical because
“disclosing the parties’ identities furthers openness of judicial proceedings.” Doe v. Pub.
Citizen, 749 F.3d 246, 273 (4th Cir. 2014); see also Nixon v. Warner Commc ’ns, lnc., 435
U.S. 589, 597 (1978) (“[T]he courts of this country recognize a general right-to inspect and
copy public records and documents, including judicial records and documents.”) (footnotes
omitted). Nevertheless, courts have, in special circumstances, permitted a party “to proceed
anonymously” when a court determines “the impact of the plaintiffs anonymity” outweighs
“the public interest in open proceedings” and considers the “fairness to the defendant.” Nat ’l
Ass’n of Waterfi'om‘ Emp’rs v. Chao (“Chao”), 587 F. Supp. 2d 90, 99 (D.D.C. 2008) (RMC).

In the past, when balancing these two general factors, two different but analogous tests
have been applied in this circuit. The first test consists of the six factors set forth in United
States v. Hubbard, 650 F.2d 293, 317-21 (D.C. Cir. 1980):

(l) the need for public access to the documents at issue; (2) the extent to which the

public had access to the document prior to the sealing order; (3) the fact that a party
has objected to disclosure and the identity of that party; (4) the strength of the property

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and privacy interests involved; (5) the possibility of prejudice to those opposing
disclosure; and (6) the purpose for which the documents were introduced.

Doe v. CFPB (“Doe l”), Civil No. 15-1177 (RDM), 2015 WL 6317031, at *2 (D.D.C. Oct.
16, 2015). In other cases, a “flve-part test to balance the concerns of plaintiffs seeking
anonymity with those of defendants and the public interest” has been applied. Eley v. District
ofColumbia, No. 16-806 (GMH), 2016 WL 6267951, at *1 (D.D.C. Oct. 25, 2016). These
factors, drawn from Chao, include the following:

(1) whether the justification asserted by the requesting party is merely to avoid the

annoyance and criticism that may attend any litigation or is to preserve privacy in

a matter of a sensitive and highly personal nature; (2) whether identification poses

a risk of retaliatory physical or mental harm to the requesting party or even more

critically, to innocent non-parties; (3) the ages of the persons whose privacy

interests are sought to be protected; (4) whether the action is against a governmental

or private party; and (5) the risk of unfairness to the opposing party from allowing

an action against it to proceed anonymously.
Doe v. Teti, Misc. No. 15-01380 (RWR), 2015 WL 6689862, at *2 (D.D.C. Oct. 19, 2015);
see also Roe v. Bernabei & Wachtel PLLC, 85 F. Supp. 3d 89, 96 (D.D.C'. 2015) (TSC); Doe
v. U.S. Dep ’t of State, Civil No. 15-01971 (RWR), 2015 WL 9647660, at *2 (D.D.C. Nov. 3,
2015); Doe v. Cabrera, 307 F.R.D. 1, 5 (D.D.C. 2014) (RBW).

The Chao and Hubbard factors weigh the same two general concems. Doe Co. No. l v.
CFPB (“Doe Il”), 195 F. Supp. 3d 9, 15-16 (D.D.C. 2016) (RDM). Speciflcally, these concerns
are: (1) the “[s]trength of the [g]eneralized [p]roperty and [p]rivacy [i]nterests” involved and “the
possibility of prejudice” to those opposing disclosure, Hubbara', 650 F.2d at 320-21; and
(2) whether the “justiflcation” for nondisclosure “is merely to avoid the annoyance and criticism
that may attend any litigation or is to preserve privacy in a matter of a sensitive and highly

personal nature,” Teti, 2015 WL 6689862, at *2. Thus, in Doe II, the Court determined that

the question before the Court is not best answered with a rigid, multi-part test but
With an assessment of whether the non-speculative privacy interests that the

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movants have identified outweigh the public’s substantial interest in knowing the
identities of [the] parties in litigation, along With any legitimate interest that the
non-moving parties[] . . . may have in revealing the identity of the movants.

Doe II, 195 F. Sup'p. 3d at 17.

This balancing inquiry accords with the D.C. Circuit’s test for Whether a district court
should exercise its discretion to permit an exception from Federal Rule of Civil Procedure
lO(a). The Circuit has acknowledged the district court’s discretion “to grant the ‘rare
dispensation’ of anonymity” to litigating parties under certain limited circumstances, provided
the court has “inquire[d] into the circumstances of particular cases to determine whether the
dispensation is warranted.” Um`ted States v. Microsoft Corp., 56 F.3d 1448, 1464 (D.C. Cir.
1995) (quoting James v. Jacobson, 6 F.3d 233, 238 (4th Cir. 1993)). In exercising this
discretion, the D.C. Circuit has required the court to “take into account the risk of unfairness
to the opposing party, as well the customary and constitutionally-embedded presumption of
openness in judicial proceedings.” Id. (internal citations and quotation marks omitted).

Thus, whichever test applies, the same general balancing inquiry is at issue: “whether
the non-speculative privacy interests that the movants have identified outweigh the public’s
substantial interest in knowing the identities of [the] parties in litigation, along with any
legitimate interest that the non-moving parties[] . . . may have in revealing the identity of the
movants.” Doe II, 195 F. Supp. 3d at 17; see also Chao, 587 F. Supp. 2d at 99 (assessing
Whether “the impact of the plaintiffs anonymity” outweighs “the public interest in open
proceedings and [considering the] fairness to the defendant”).

III. DISCUSSION

At this stage of the litigation, this Court is not persuaded that the plaintiffs have met

their burden of showing that their privacy interests outweigh the public’s presumptive and

substantial interest in knowing the details of judicial litigation. As to the first Chao factor, the

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plaintiffs have not demonstrated that anonymity is necessary to “preserve privacy in a matter
of a sensitive and highly personal nature.” Tetl`, 2015 WL 6689862, at *2. Although the
plaintiffs allege that the “capacity for reprisal in the federal Workplace far exceeds the regular
annoyance and criticism that may attend other litigation,” Pls.’ Mem. at 3, and cite fears of
“reprisal, including adverse actions up to and including removal,” id. at 4, the plaintiffs’
speculative fears of reprisal appear, at this stage, more akin to a mere desire “to avoid the
annoyance and criticism that may attend any litigation.” Teti, 2015 WL 6689862, at *2.

The plaintiffs further claim that “[r]etaliation based on Plaintiffs’ bringing [of] this
Complaint would jeopardize their continued paid employment as federal workers_the very
injury against Which they are litigating. . . . [and that] Plaintiffs should not be required to
choose between seeking vindication of their constitutional and statutory rights as employees
and almost assured reprisal for doing so.” Pls.’ Mem. at 4-5 (citing Chao, 587 F. Supp. 2d at
994-100 (“Pseudonymous litigation has been permitted . . . where the injury litigated against
would be incurred as a result of the disclosure of the plaintiff s identity.”)) (internal quotation
marks omitted). Yet the plaintiffs have offered no evidence, other than speculation or
discussion of retaliation in the workplace in general, see Pls.’ Mem. at 3, that they may be
subject to reprisal includingjob loss as a result of bringing this litigation. Such speculation
does not meet the plaintiffs’ burden to demonstrate their need to proceed anonymously. See
Doe 11, 195 F. Supp. 3d at 22.

In considering whether anonymity is necessary to preserve privacy in a matter of a
sensitive and highly personal nature, the Court finds it significant that cases challenging the
rights of federal employees during government shutdowns have been, and currently are being,

litigated under the plaintiffs’ real names. See, e.g., Tarovz`sky v. Unz'ted States, No. 19-cv-

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00004-PEC (Fed. Cl. 2019) (putative class action filed individually and on behalf of all
similarly situated government employees who are classified as “excepted employees” and are
therefore Working during the current sh'utdown); Vieira v. United States, No. 19-cv-00040-
PEC (Fed. Cl. 2019) (putative class action filed by a Customs and Border Patrol agent related
to the current shutdown); Martin v. Um'ted States, 117 Fed. Cl. 611, 313 (2014) (holding that
delay in pay due to government shutdown in 2013 violated the Fair Labor Standards Act).
Although the willingness of other plaintiffs to file suit using their real names is not
dispositive, it is relevant to the Court’s consideration of this motion. Upon consideration of
the allegations in the plaintiffs’ memorandum against this background, the Court is not
persuaded that pseudonyms are necessary to preserve the plaintiffs’ privacy regarding their
lawsuit.

Tuming to the second Chao factor, two plaintiffs allege that they have “regular in-
person interactions with felons convicted of violent crimes,” Pls.’ Mem. at 5, and that if their
names are revealed “they will likely attract undue attention in their dangerous Workplaces.
Such attention from felons or others displeased over Plaintiffs’ objections to being required to
work without pay very likely might include physical danger,” id. Again, while the Court is
sympathetic to the risks attendant to certain jobs, the plaintiffs have failed to offer anything
aside from mere speculation that their participation in this suit will result in any more danger
beyond that inherent in their employment. It bears repeating that, as the second Chao factor
suggests, the “rare dispensation” of allowing parties to proceed pseudonymously generally
demands a “critical” case. James, 6 F.3d at 23 8. The plaintiffs have not demonstrated that

their situation is such a “critical” case. The Court remains unconvinced that the plaintiffs

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have shown a non-speculative risk of the type of physical or mental harm that typically
justifies the need to file under a pseudonym.

The third Chao factor, concerning the ages of the persons whose privacy interests are
sought to be protected, appears to be of limited relevance to this motion because the plaintiffs
are not proceeding on behalf of minor children. See Yaman v. U.S. Dep ’t of Stote; 786 F.
Supp. 2d 148, 153 (D.D.C. 2011) (JDB).

The fourth and fifth Chao factors ask whether the action is against a governmental or
private party and for an analysis of the risk of unfairness to the opposing party in allowing an
action to proceed against it anonymously. The plaintiffs argue that their “identities have little,
if any, bearing on Defendants’ ability to address the legal issues raised in the Complaint”
because the Complaint “implicates a question of law with little to no questions of fact that
might require individual identification of the Plaintiffs to resolve.” Pls.’ Mem. at 7. Notably,
however, the plaintiffs undercut this argument by alleging that the defendants-designated
certain employees as “excepted” without inquiring int_o their specific duties. Compl. 1111 89-
91. Consequently, as to at least one of the plaintiffs’ claims, “questions of fact that might
require individual identification of the Plaintiffs, Pls.’ Mem. at 7, may be necessary to resolve,
and therefore the defendants may suffer unfairness if the plaintiffs were permitted to file
under pseudonyms. See Teti, 2015 WL 6689862, at *4.

In sum, the plaintiffs’ fears of reprisal, retaliation, and potential physical harm are too
speculative to outweigh the public’s substantial and presumptive interest in disclosure.
Although this Court has analyzed the motion under the Chao factors, the result Would be no
different under the Hubbard analysis. As previously noted, the same general balancing

inquiry is at issue in both tests: “whether the non-speculative privacy interests that the

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movants have identified outweigh the public’s substantial interest in knowing the identities of
[the] parties in litigation, along With any legitimate interest that the non-moving parties[] . . .
may have in revealing the identity of the movants.” Doe 11,`195 F. Supp. 3d at 17. The
plaintiffs have failed to meet the “heavy burden” of establishing that their privacy interests
outweigh the public’s interest in knowing their identities. See id.
IV. CONCLUSION AND ORDER

For the foregoing reasons, it is hereby

ORDERED that the plaintiffs’ Motion to File Under Pseudonyms is DENIED.

SO ORDERED.

 
 

Date: January 10, 2019
BERYL A. HOWELL
Chief Judge

 

